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  1
                              UNITED STATES DISTRICT COURT
  2                         CENTRAL DISTRICT OF CALIFORNIA
                                      LOS ANGELES
  3
  4
  5
      SUSAN CRAWFORD and                         No.      2:20-cv-05546
  6   SUSAN RANDOLPH
  7
  8                     Plaintiffs,
               V.
  9
 10   PRINCESS CRUISE LINES LTD.,
 11                     Defendant.
 12
 13                           COMPLAINT AND JURY DEMAND
 14
               Plaintiffs, by and through their undersigned counsel, hereby sues Defendant,
 15
 16   PRINCESS CRUISE LINES LTD. (hereinafter, "PRINCESS"), and alleges:

 17
                             THE PARTIES AND JURISDICTION
 18
 19
               1.    This is an action seeking damages in excess of $1,000,000.00 (One

 20   Million Dollars) exclusive of interest, costs and attorney's fees.
 21
               2.    This Court has diversity subject matter jurisdiction pursuant to 28
 22
 23
      U.S.C. § 1332 as this is a civil action in which the matter in controversy exceeds

 24   the sum or value of $75,000, exclusive of interest and costs, and is between citizens
 25
      of different States and/or citizens of a State and citizens or subjects of a foreign
 26
 27   state.

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                                                 1
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